      Case 2:21-cr-00127-MCS    Document 261 Filed 02/26/25    Page 1 of 1 Page ID
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                                                         Dated: 2/26/2025
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                              UNITED STATES DISTRICT COURT
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                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,              Case No. 2:21-CR-00127-MCS
12               Plaintiff,
13                                          [PROPOSED] ORDER
           v.
14   DOUGLAS J. CHRISMAS,
15
                 Defendant.
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           FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED that Douglas
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     Chrismas’s ex parte application is GRANTED. The self-surrender date is continued from
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     March 3, 2025 to March 17, 2025.
22
           IT IS SO ORDERED.
23
24
     Dated:
25                                       HONORABLE MARK C. SCARSI
26                                       United States District Judge

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